    Case: 1:10-cr-00951 Document #: 123 Filed: 07/31/20 Page 1 of 5 PageID #:640




                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 UNITED STATES OF AMERICA,                                     )
                                                               )
                                            Plaintiff,         )    10 CR 951
                                                               )
                             vs.                               )    Judge Gary Feinerman
                                                               )
 MATTHEW MAHONEY,                                              )
                                                               )
                                          Defendant.           )

                              MEMORANDUM OPINION AND ORDER

       The court sentenced Matthew Mahoney to a 240-month prison term for three counts of

bank robbery, 18 U.S.C. § 2113(a)—he admitted to committing nine bank robberies over a two-

month period, but formally pleaded guilty to three and stipulated to the six others—and one

count of using a firearm in furtherance of a crime of violence, 18 U.S.C. § 924(c)(1)(A)—though

he used (but did not fire) a gun in five of the robberies. Doc. 53; Doc. 54 at 1, 8-16; Doc. 77 at

1-2. The parties had agreed under Criminal Rule 11(c)(1)(C) that the custodial sentence would

fall within the applicable Guidelines range of 235-272 months. Doc. 54 at 26.

       Mahoney is currently housed at Coleman Low FCI and has a projected release date of

April 27, 2028. Doc. 112 at 2. Before the court is his motion for a reduced sentence, known

colloquially as compassionate release, under 18 U.S.C. § 3582(c)(1)(A)(i), as amended by the

First Step Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194. Doc. 98. He satisfies all

requirements of such relief, and the court reduces his sentence to time served.

       First, as the Government acknowledges, Doc. 112 at 6, Mahoney exhausted his

administrative remedies by first seeking relief from the Bureau of Prisons. See 18 U.S.C.

§ 3582(c)(1)(A).




                                                 1
    Case: 1:10-cr-00951 Document #: 123 Filed: 07/31/20 Page 2 of 5 PageID #:641




       Second, there are “extraordinary and compelling reasons” that warrant a sentence

reduction. Ibid.; U.S.S.G. § 1B1.13. Those reasons do not arise under Application Note 1(D) of

U.S.S.G. § 1B1.13. See United States v. Rollins, 2020 WL 3077593 (N.D. Ill. June 10, 2020).

They do arise, however, under Application Note 1(A)(ii), which applies where the defendant has

“serious physical or medical condition[s] … that substantially diminish[] [his] ability … to

provide self-care within the environment of a correctional facility and from which he … is not

expected to recover.” U.S.S.G. § 1B1.13, n.1(A)(ii).

       Mahoney has such serious medical conditions. The medical records filed in conjunction

with his motion are voluminous, Doc. 103, 113, 118, but his most serious medical conditions

concern his lungs. In December 2007, Mahoney suffered a collapsed lung, requiring

hospitalization, a chest tube replacement, and two subsequent pulmonary surgeries to re-expand

the lung. Doc. 118-1 at 2 (letter from his treating physician). Although he recovered, CT scans

of his chest indicated blebs, or “bubbles or pockets of air between the lung lining and the chest

wall” that “are prone to rupture and recurrent lung collapse [if exposed to] further pulmonary

complications.” Ibid. Mahoney also suffers from a chronic inability to fight off infection, as

evidenced by a history of ear and skin infections, Doc. 105 at 2; Doc. 113 at 1-5; a failure to heal

from back surgery, Doc. 103; and a diagnosis of MRSA, an antibiotic resistant bacterial staph

infection, Doc. 118-2 at 4.

       While Mahoney’s medical problems might pose a manageable health risk in ordinary

times, placing him well outside the category of inmates covered by Application Note 1(A)(ii),

those problems impose on him an acute and unacceptable risk of becoming severely ill or dying

should he contract COVID-19. See CDC, Coronavirus Disease: People with Certain Medical

Conditions (July 30, 2020), https://www.cdc.gov/coronavirus/2019-ncov/need-extra-




                                                 2
    Case: 1:10-cr-00951 Document #: 123 Filed: 07/31/20 Page 3 of 5 PageID #:642




precautions/people-with-medical-conditions.html (including “having damaged or scarred lung

tissues” in a list of “underlying medical conditions” that put an individual “at increased risk for

severe illness from COVID-19,” regardless of age). That risk cannot be overlooked, as prison

facilities face an extraordinary challenge in preventing the spread of COVID-19 among their

inmate populations, with prisoners being some 5.5 times more likely to contract COVID-19 than

the population as a whole and, after controlling for age and sex, three times more likely to die

from it. See Brendan Saloner, Ph.D., et al., Covid-19 Cases and Deaths in Federal and State

Prisons, JAMA (July 8, 2020), https://jamanetwork.com/journals/jama/fullarticle/2768249.

       The risk here is even more acute because Coleman Low FCI is in Florida, which is in the

midst of a massive surge in COVID-19 cases. See Florida Department of Health, Florida

COVID-19 Response (July 31, 2020), https://floridahealthcovid19.gov/#latest-stats. That surge

has manifested at Coleman Low FCI, where the infected male inmate population jumped

(literally) from zero to sixty in the past few weeks, and where several staff members have

become infected as well. Doc. 112 at 9; Doc. 117 at 2; Doc. 120. Although the Government

notes that the Bureau in general and Coleman Low FCI in particular have admirably

implemented numerous safety precautions, ibid., even competent, well-intentioned officials face

an arduous task of protecting otherwise healthy inmates, let alone someone with the serious risks

faced by Mahoney. Given all this, Mahoney’s medical conditions and the COVID-19 pandemic

“substantially diminish[] [his] ability … to provide self-care within the environment of [his]

correctional facility.” U.S.S.G. § 1B1.13, n.1(A)(ii).

       Third, a sentence reduction is warranted in light of “the factors set forth in [18 U.S.C.

§] 3553(a).” 18 U.S.C. § 3582(c)(1)(A); U.S.S.G. § 1B1.13. The court is well aware that

Mahoney’s crimes were very serious. Any bank robbery is serious, and Mahoney committed




                                                  3
    Case: 1:10-cr-00951 Document #: 123 Filed: 07/31/20 Page 4 of 5 PageID #:643




nine of them, Doc. 54, and law enforcement apprehended him while he was en route to what

would have been his tenth, Doc. 112 at 1. Mahoney was a bank teller himself and used his

knowledge to plan and conduct the robberies. Id. at 11. He pointed a loaded gun at bank

employees during some of the robberies, causing them to suffer unimaginable fright and

resulting in one missing work for months while receiving counseling. Id. at 11-12; Doc. 54 at 1-

16. Mahoney’s very serious crimes deserve a very substantial sentence.

       The question here is whether, considering the § 3553(a) factors, Mahoney has already

received sufficient punishment. At the time he committed the robberies, Mahoney was addicted

to heroin and had no prior arrests or convictions. Doc. 117 at 9. He has spent nine years, eight

months in prison—56% of his total sentence when good-time credits are considered. Ibid.

Given the risk of serious illness or death Mahoney faces were he to remain in prison, that penalty

reasonably accounts for the seriousness of his crimes, provides just punishment for them, and

promotes respect for the law. As for deterrence, ten years in prison sends a clear signal to those

considering bank robbery and to Mahoney himself. Id. at 10. And as evidenced by his guilty

plea and his statements at his sentencing hearing and in conjunction with this motion, Mahoney

has taken responsibility for his actions, demonstrated genuine remorse, and poses a low risk of

recidivism. Doc. 98 at 6; Doc. 117 at 10. The court accordingly finds that a sentence reduction

to time served is appropriate in light of the § 3553(a) factors.

       Fourth, Mahoney “is not a danger to the safety of any other person or to the community.”

U.S.S.G. § 1B1.13. He is remorseful and has taken affirmative steps to reform. He obtained his

CPR certification and serves as the Clerk at Coleman Low FCI, responsible for maintaining

inmate work assignments, inmate payroll, and the work detail roster. Doc. 98 at 5. Mahoney’s

mother, a retired police officer, has volunteered to house him upon his release. Ibid.; Doc. 117 at




                                                  4
    Case: 1:10-cr-00951 Document #: 123 Filed: 07/31/20 Page 5 of 5 PageID #:644




9. The Bureau’s decision to place Mahoney in a low security facility, combined with his low

PATTERN score for recidivism, indicate that he is not likely to recidivate. Ibid. Any remaining

concerns can and will be addressed in the restrictions imposed by Mahoney’s supervised release.

       The court grants Mahoney’s § 3582(c)(1)(A) and reduces his sentence to time served. An

amended judgment and commitment order will follow shortly. The Government and/or the

Probation Office are invited to move the court to make any appropriate modifications to the

conditions of Mahoney’s supervised release.




July 31, 2020                                       __________________________________
                                                          United States District Judge




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